     Case 1:18-cv-08449-PAE           Document 33        Filed 08/13/19    Page 1 of 1


                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     86 Chambers Street
                                                     New York, NY 10007


                                                     August 13, 2019

BY ECF
Honorable Paul A. Engelmayer
United States District Judge
40 Foley Square
New York, NY 10007

Re: Reclaim the Records, et al. v. U.S. Department of Veterans Affairs, 18 Civ. 8449 (PAE)

Dear Judge Engelmayer:

        Pursuant to Local Rule 1.4, I respectfully submit my application to withdraw from the
above-referenced action and to be removed as counsel of record for the defendant. As set
forth in my attached declaration, I will soon no longer be with the United States Attorney’s
Office for the Southern District of New York, which represents the defendant in this matter.

       I thank the Court for its consideration of this submission.


                                                     Respectfully submitted,

                                                     GEOFFREY S. BERMAN
                                                     United States Attorney

                                             By:     /s/ Sharanya Mohan
                                                     SHARANYA MOHAN
                                                     Assistant United States Attorney
                                                     86 Chambers Street, Third Floor
                                                     New York, NY 10007
                                                     Tel: (212) 637-2737
                                                     Fax: (212) 637-2786
                                                     sharanya.mohan@usdoj.gov
